Case 2:15-cv-01187-JRG-RSP Document 80 Filed 12/27/17 Page 1 of 3 PageID #: 1918



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNILOC USA, INC. and UNILOC
 LUXEMBOURG, S.A.,

                        Plaintiffs,

                                                        Civil Action No. 2:15-cv-01187-JRG-RSP
         v.


 AUTODESK, INC.,

                        Defendant.




               STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

         The plaintiffs Uniloc USA, Inc., and Uniloc Luxembourg, S.A. and defendant Autodesk,

  Inc., pursuant to Fed. R. Civ. P. 41, hereby move for an order dismissing all claims in this action

  WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees.

         WHEREFORE, the Parties respectfully request that the Court dismiss this action in

  accordance with the proposed Order that accompanies this motion.




                                                  -1-
  sf-3841551
Case 2:15-cv-01187-JRG-RSP Document 80 Filed 12/27/17 Page 2 of 3 PageID #: 1919



   Dated: December 27, 2017           WARREN RHOADES LLP

                                      By: /s/ Sanford E. Warren, Jr.
                                      Sanford E. Warren, Jr.
                                      State Bar No. 20888690
                                      R. Scott Rhoades
                                      State Bar No. 90001757
                                      1212 Corporate Drive, Suite 250
                                      Irving, Texas 75038
                                      Telephone: (972) 550-2955
                                      Facsimile: (469) 422-0091
                                      swarren@wriplaw.com
                                      srhoades@wriplaw.com

                                      Attorneys for Plaintiffs
                                      UNILOC USA, INC.and UNILOC
                                      LUXEMBOURG, S.A.
   Dated: December 27, 2017           Respectfully submitted,

                                      MORRISON & FOERSTER LLP

                                      By: /s/ Rudy Y. Kim (with permission)
                                      Rudy Y. Kim
                                      MORRISON & FOERSTER LLP
                                      755 Page Mill Road
                                      Palo Alto, California 94304
                                      Telephone: (650) 813-5600
                                      Facsimile: (650) 494-0792
                                      rudykim@mofo.com

                                      GILLAM & SMITH LLP

                                      Harry L. Gillam, Jr.
                                      State Bar No. 0792 1800
                                      GILLAM & SMITH LLP
                                      303 South Washington Avenue
                                      Marshall, Texas 75670
                                      Telephone: (903) 934-8450
                                      Facsimile: (903) 934-8450
                                      gil@gillamsmithlaw.com

                                      Attorneys for Defendant
                                      AUTODESK, INC.




                                      -2-
  sf-3841551
Case 2:15-cv-01187-JRG-RSP Document 80 Filed 12/27/17 Page 3 of 3 PageID #: 1920



                                   CERTIFICATE OF SERVICE

         The undersigned certifies that, on December 27, 2017, I electronically submitted the

  foregoing document with the clerk of court for the U.S. District Court, Eastern District of Texas,

  using the electronic case filing system of the court. I hereby certify that I have served all counsel

  and/or pro se parties of record electronically or by another manner authorized by Federal Rule of

  Civil Procedure 5(b)(2).


                                                        /s/ Sanford E. Warren, Jr.
                                                        Sanford E. Warren, Jr.
